  Case 1:15-cv-06119-AJN-JLC Document 381-29 Filed 06/19/17 Page 1 of 8




From:                    Darryl Rankin
Sent:                    Tuesday, February 17, 2015 5:31 AM EST
To:                      Renu Kripalani
Subject:                 RE: Repear noise complaint




Rae

All of your complaints are being forwarded to counsel for action. We anticipate having
word from the court within the next few weeks on the disposition of this case.

DPR


Sent from my Verizon Wireless 4G LTE smartphone




-------- Original message --------
From: Renu Kripalani <raesvibrations@gmail.com>
Date:02/17/2015 4:59 AM (GMT-05:00)
To: Darryl Rankin <drankin@milfordmgmt.com>
Subject: Repear noise complaint

Hi Daryl


The music from the neighbor's stereo is extremely loud again and I have been wakened
from my sleep about 12 time this year. I haven't complained recently because it clearly
has no impact on what this management can and will do. House rules are not enforced in
this building. Whether me or the neighbor complain 10 times or 100 times, nothing
changes. This man does whatever and whenever he wants in this building at any time of
the day or night, and he is still walking a round with a big smile each day feeling very
much welcomed and entitled. .

There seems to be nobody with authority or inclination to do something about this
hideous ongoing behavior that literally makes the lives of all the neighbors of this man, a
living Hell. It is a constant ongoing nightmare of events. The music can be heard any
place in the halls and the entire Floor above and below.

This is enraging and I am getting worn down. I am just writing this a trail of incidents.

Best,

Rae




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 Case 1:15-cv-06119-AJN-JLC Document 381-29 Filed 06/19/17 Page 2 of 8




Raes Vibrations
raesvibrations@gmail.com



On Dec 4, 2014, at 12:10 PM, Darryl Rankin <drankin@milfordmgmt.com> wrote:


  I have forwarded to counsel

  Darryl P. Rankin
  Milford Management
  99 Battery Place
  New York, NY 10280
  (212) 842-7310 - office

  From: Raes Vibrations [mailto:raesvibrations@gmail.com]
  Sent: Thursday, December 04, 2014 12:04 PM
  To: Darryl Rankin
  Subject: Re: 200 rector - 35E

  Hi Darryl,

  Thank you so much for your reply. I don't mind you sharing anything I send
  you with your attorney, I feel that he already knows I am upset with his
  disturbances so it is now pretty much open and obvious. I understand that
  another neighbor besides me also complained last night sand spoke with Jose
  before I phoned him on the intercom, per his conversation with me at 3:00am.
   (2 complaints are better than 1)

  By the way, I did hear banging on his door soon after my call to Jose.
   However, he continued to blast the music on an off at 15-20 minute intervals,
  until 6:00am ish. It appeared to me that he was purposefully and intentionally
  tormenting his neighbors with his noisy tantrum and causing us sleep
  deprivation. Just when I would think the noise had ended and I had dozed
  back to sleep, he would jack up the volume again suddenly to the loudest level
  possible for about 15 more minutes, then shut it off again. He repeated this
  torture cycle regimen about 10 times throughout the night until sun rise.




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Case 1:15-cv-06119-AJN-JLC Document 381-29 Filed 06/19/17 Page 3 of 8



 Perhaps the judge may like to know about his spiteful and hateful nature in
 making her final decision.

 Kind regards,

 Renu


 Raes Vibrations
 raesvibrations@gmail.com



 On Dec 4, 2014, at 11:49 AM, Darryl Rankin <drankin@milfordmgmt.com>
 wrote:


 Renu

 Thanks for letting me know. I will advise our attorney. Please let me know if you like 35E to
 be made aware that there was a complaint as you had previously advised you did not.

 Happy holidays.

 D

 Darryl P. Rankin
 Milford Management
 99 Battery Place
 New York, NY 10280
 (212) 842-7310 - office

 From: Raes Vibrations [mailto:raesvibrations@gmail.com]
 Sent: Thursday, December 04, 2014 3:07 AM
 To: Darryl Rankin
 Subject: Re: 200 rector - 35E



 Hi Darryl,

 I hope you had a very nice holiday. I am writing to you at around 3:00am
 again to report another noise disturbance from my neighbor across the hall.
  His music is blasting enough to make my walls and door vibrate.. I let Jose
 know.

 Thanks,




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Case 1:15-cv-06119-AJN-JLC Document 381-29 Filed 06/19/17 Page 4 of 8



 Renu Kripalani




 Raes Vibrations
 raesvibrations@gmail.com



 On Oct 11, 2014, at 8:44 PM, Darryl Rankin <drankin@milfordmgmt.com>
 wrote:



 I'm sorry you are being disturbed. Have forwarded to counsel.

 D


 Sent from my Verizon Wireless 4G LTE smartphone



 -------- Original message --------
 From: Raes Vibrations
 Date:10/11/2014 20:14 (GMT-05:00)
 To: Darryl Rankin
 Subject: Re: 200 rector - 35E

 Hi Darryl,

 Thank you so much, yes you have my consent. I apologize again for
 disturbing you on your weekend. Also, regarding the PDF we spoke about, I
 am very certain now that it is a different Steven Greer MD, so do not want to
 be one to circulate misleading information. I apologize for bringing it up.

 Thank you again. Kind regards,

 Renu

 Raes Vibrations
 raesvibrations@gmail.com




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Case 1:15-cv-06119-AJN-JLC Document 381-29 Filed 06/19/17 Page 5 of 8



 On Oct 11, 2014, at 8:00 PM, Darryl Rankin <drankin@milfordmgmt.com>
 wrote:



 Renu

 Thanks for your email. While we obviously cannot control Mr. Greer's
 behavior - I will forward your email to our counsel with your consent (as you
 had previously advised me you did not want me to do this). I will be back in
 the office on Tuesday if you would like to discuss this matter in greater detail.

 Darryl



 Sent from my Verizon Wireless 4G LTE smartphone



 -------- Original message --------
 From: Raes Vibrations
 Date:10/11/2014 18:15 (GMT-05:00)
 To: Darryl Rankin
 Subject: Re: 200 rector - 35E

 Hi Darryl,

 I am following up with a new update on the tormenting situation with my
 neighbor Steve Greer in Apt 35F. Today on or at around 11:45am on
 Saturday October 11, 2014 I received an intercom call from the doorman
 Glenn, reporting to me that my neighbor was complaining about the music that
 I was playing at 11:45am during permitted house hours. I asked Glenn if he
 was calling me because I was in violation of any house rules and he stated
 that I was not. Glenn replied that he was just passing the message on that my
 neighbor was furious and wanted me to shut it down. Since I was not in any
 violation I decided not to shut it down or adjust the volume of my music.
  Within the next few minutes I heard loud pounding and shaking of my front
 door which I believe was Steve himself since the doorman or staff would have
 had no reason whatsoever to come up to my apartment and confront me since
 we had already made contact via the intercom and I was not violating house
 rules. I was frightened alarmed and felt very unsafe. Within a few more
 minutes I received a call on my cell phone from Abraham and he said that
 Steve had decided to call the police on me, and Abraham said he was just
 giving me a heads up that I should be expected a visit from NYPD any
 moment, even though I was not in violation of any house rules. I believe this
 constitutes harassment and an attempted frivolous claim. I was more panic




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Case 1:15-cv-06119-AJN-JLC Document 381-29 Filed 06/19/17 Page 6 of 8



 stricken by the extend of Steve Greer's fury and rage. I will also say that I am
 outraged. I do not believe ANYONE in this building should have the right to
 pound on my door unless it is an invited guest, or there is a critical emergency
 or it is a government official with authority to do so. I had to leave for work
 today at 12:10 so I asked Abraham to please send someone upstairs to walk
 me down and out of the building because I understand Steve Greer to be very
 unstable, hostile and threatening.

 I believe this situation had reached a severe point of deterioration where
 immediate and appropriate action should be taken. I can no longer go on
 living in this hostile threatening manner. He has been violating house rules
 repeatedly for decades and now has the audacity to complain about my music
 which is not in any violation of house rules. I am almost certain he is on a
 quest to wage revenge on me tonight. He had no right to come near my door
 nor voice any complaint to the building staff that is not a violation. In light of
 the history of the behavior of this tenant, I should see no reason why the
 building staff would even bother to entertain any complaints from this man. In
 fact, I would like to follow up with you in person on some conduct of the
 doorman/building staff that I find very unsupportive and unhelpful in this
 matter. Perhaps there should be some clarity from management as to where
 their allegiance should be placed.

 At this point I realize that my living situation cannot get any more hostile or
 threatening to me in this building before something really bad happens. I do
 not feel safe, I am constantly being awaken in the middle of the night from his
 loud blasting music between 3:00-6:00am which is clearly against house rules.
  I would like for you to involve the attorneys and the board to expedite his
 removal. I consider his presence in this building far more threatening and
 dangerous than any possible stranger that may happen to come in through Air
 B&B, which seems to concern management and the board.

 Sorry to disturb you during the weekend. I just wanted to document this issue
 as soon as I returned home. I expect it will be a difficult night. Maybe there
 will be some cops involved, who knows. I hope we can resolve this situation
 soon.

 Kind regards,

 Renu Kripalani



 Raes Vibrations
 raesvibrations@gmail.com




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Case 1:15-cv-06119-AJN-JLC Document 381-29 Filed 06/19/17 Page 7 of 8




 On Oct 9, 2014, at 8:04 AM, Raes Vibrations <raesvibrations@gmail.com>
 wrote:



 Thanks so much!


 Raes Vibrations
 raesvibrations@gmail.com



 On Oct 9, 2014, at 7:07 AM, Darryl Rankin <drankin@milfordmgmt.com>
 wrote:



 Also – please forward link we discussed – thanks

 D

 Darryl P. Rankin
 Milford Management
 99 Battery Place
 New York, NY 10280
 (212) 842-7310 - office

 From: Darryl Rankin
 Sent: Thursday, October 09, 2014 7:04 AM
 To: Rae Nu
 Subject: RE: 200 rector - 35E

 Renu

 Sorry to hear about the noise. I will document and save. Let me know if you want me to
 notify our counsel or take any action as this is clearly in violation of the House Rules. I will
 check with attorney to see if we can notify him of anonymous complaint.

 DPR

 Darryl P. Rankin
 Milford Management
 99 Battery Place
 New York, NY 10280
 (212) 842-7310 - office




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Case 1:15-cv-06119-AJN-JLC Document 381-29 Filed 06/19/17 Page 8 of 8



 From: Rae Nu [mailto:raesvibrations@gmail.com]
 Sent: Thursday, October 09, 2014 2:55 AM
 To: Darryl Rankin
 Subject: Re: 200 rector - 35E

 Hi Darrlyl,

 Thank you for taking the time to speak with me yesterday, As we speak now,
 my neighbor is blasting his music so loud I can hear it on the entire floor, all
 the way by the elevators. It is now 2:54. The neighbors's dog is now up too.


 I have an exam tomorrow so Im not sure if Im up for calling the cops.

 Thanks,

 Renu


 On Oct 7, 2014, at 5:10 PM, Darryl Rankin <drankin@milfordmgmt.com>
 wrote:


 Renu

 Thanks for stopping in today. Please reach out and keep me posted of anything out of the
 ordinary. I will not forward without your direction – but think it would be helpful to track
 these items as they occur for frequency and severity. Sorry you are going through this.

 All the best.

 Darryl

 Darryl P. Rankin
 District Manager
 Milford Management
 99 Battery Place
 New York, NY 10280
 (212) 842-7310 - office




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